    Case 2:21-cv-13117-JMV Document 22 Filed 07/02/21 Page 1 of 2 PageID: 528




NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                :
          1
JUAN R., individually and on behalf of          :
all others similarly situated,                  :
                                                :
                Petitioner/Plaintiff,           :          Civil Action No. 21-13117 (JMV)
                                                :
                        v.                      :                       ORDER
                                                :
UNITED STATES DEPARTMENT OF                     :
HOMELAND SECURITY, et al.,                      :
                                                :
                Respondents/Defendants.         :
                                                :

VAZQUEZ, District Judge:

        This matter comes before the Court on the motion of Petitioner/Plaintiff (individually and

on behalf of all others similarly situated) for a temporary restraining order (“TRO”) prohibiting

Defendants from transferring Petitioner/Plaintiff to a facility more than 100 miles from the Essex

County Correctional Facility. D.E. 3. Respondents/Defendants filed opposition, D.E. 18, to which

Petitioner/Plaintiff replied, D.E. 20. The Court then heard oral argument by teleconference on July

2, 2021 and issued a verbal Opinion on the record. For the reasons set forth on the record, and

for good cause shown,

        IT IS on this 2nd day of July 2021 hereby




1
  Petitioner is identified herein only by his first name and the first initial of his surname in order to
address certain privacy concerns associated with § 2241 immigration cases. This manner of
identification comports with recommendations made by the Judicial Conference of the United
States’ Committee on Court Administration and Case Management.
Case 2:21-cv-13117-JMV Document 22 Filed 07/02/21 Page 2 of 2 PageID: 529




   ORDERED that Petitioner/Plaintiff’s motion for a TRO, D.E. 3, is DENIED.




                                            JOHN MICHAEL VAZQUEZ
                                            United States District Judge




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